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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION



  UNITED STATES, et al.,
                                                          No. 1:23-cv-00108-LMB-JFA
                           Plaintiffs,

            v.

  GOOGLE LLC,

                           Defendant.


       NON-PARTY THE NEW YORK TIMES COMPANY’S MOTION FOR LEAVE TO
         SEAL PORTIONS OF CONFIDENTIAL DOCUMENTS AND TESTIMONY

             Pursuant to Local Civil Rule 5(C) and this Court’s Order dated June 24, 2024 (ECF

      No. 871), Non-Party The New York Times Company (“The Times”), through its undersigned

      counsel, hereby respectfully moves this Court to seal certain portions of two documents and a

      deposition transcript which the Parties have designated for use at trial. The materials are

      attached in redacted form as Exhibit C (the documents) and Exhibit D (the transcript) to The

      Times’s Objections to the Public Use of Confidential Documents and Testimony

      (“Objections”), which are being publicly filed (via CM/ECF) concurrently herewith.

      Consistent with the rules and policies of this Court, The Times is also concurrently filing

      unredacted versions of these materials (highlighted to show the redacted text) under seal,

      using the “sealed filing” event on CM/ECF.1

             The grounds for this motion are set forth in the accompanying Objections. In

      summary, the portions of the two documents (produced by The Times) and the deposition


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    Undersigned counsel hereby certifies that they will serve copies of the unredacted materials on
  counsel for the parties to this action and deliver a copy to this Court in a separate container
  labeled “UNDER SEAL.”
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   testimony (of The Times’s corporate representative) that The Times seeks to seal contain

   confidential information that, if disclosed, would cause The Times significant competitive and

   commercial harm. While The Times supports the public’s right to access the contents of

   judicial records, here there is a compelling interest in protecting The Times’s sensitive

   commercial and financial information, and the narrow redactions proposed by The Times are

   the least restrictive way of protecting this interest.

           A proposed order is attached for the Court’s convenience.



   Dated: July 26, 2024               Respectfully submitted,
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 26th day of July, 2024, I caused a copy of the foregoing to be

  filed electronically with the Clerk of Court using the CM/ECF system, which will then send a

  notification of such filing to all interested parties.


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